        Case 2:21-ap-01103-ER                   Doc 10 Filed 07/15/21 Entered 07/15/21 12:01:56                                     Desc
                                                 Main Document    Page 1 of 5



 Attorney or Party Name, Address, Telephone &                             FOR COURT USE ONLY
 FAX Nos., State Bar No. & Email Address

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      Individual appearing without attorney
      Attorney for: United States of America

                              UNITED STATES BANKRUPTCY COURT
                     CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

                                                                          CASE NO.: 2:21-bk-11758-ER
 IN RE BERJ WAROJAN MAKDESIAN,                                            CHAPTER: 7
                             Debtor.                                      ADVERSARY NO.: 2:21-ap-01103-ER

 BERJ WAROJAN MAKDESIAN,

                              Plaintiff.
                                                                          NOTICE OF LODGMENT OF ORDER OR
 v.                                                                       JUDGMENT IN ADVERSARY PROCEEDING
                                                                          RE: STIPULATION TO EXTEND THE
 UNITED STATES OF AMERICA and its agency,                                 DEADLINE FOR DEFENDANT TO FILE AN
 INTERNAL REVENUE SERVICE,                                                ANSWER
                              Defendants.



PLEASE TAKE NOTE that the order or judgment titled ORDER APPROVING STIPULATION TO
EXTEND THE DEADLINE FOR DEFENDANT TO FILE AN ANSWER was lodged on 7/15/21 and is
attached. This order relates to the motion which is docket number 9.




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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              EXHIBIT A
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 8
     Attorneys for United States of America
 9

10                               UNITED STATES BANKRUPTCY COURT

11                                CENTRAL DISTRICT OF CALIFORNIA

12                                          LOS ANGELES DIVISION

13
     In re:                                              Case No. 2:21-bk-11758-ER
14
           BERJ WAROJAN MAKDESIAN                        Chapter 7
15
                   Debtor.                               Adv. No. 2:21-ap-01103-ER
16
                                                         ORDER APPROVING STIPULATION TO
17                                                       EXTEND THE DEADLINE FOR DEFENDANT
     BERJ WAROJAN MAKDESIAN,                             TO FILE AN ANSWER
18
               Plaintiff,                                [No Hearing Required]
19   vs.
20
     THE UNITED STATES OF AMERICA and its
21   agency, INTERNAL REVENUE
     SERVICE,
22
               Defendants.
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                                                     1
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 1          The Court having read and considered the Stipulation between Debtor/Plaintiff Berj Warojan

 2   Makdesian and Defendant United States of America to Extend the Deadline for Defendant to File an

 3   Answer, and good cause appearing,

 4          IT IS HEREBY ORDERED THAT the deadline by which Defendant must file an answer is

 5   extended to August 30, 2021.

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                                                  PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 300 N.
Los Angeles Street, Suite 7211, Los Angeles, CA 90012

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED B THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
7/15/21, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Bruce A Boice bboice@lawyer.com, r51856@notify.bestcase.com
Rosendo Gonzalez (TR) rgonzalez@ecf.axosfs.com,
rossgonzalez@gonzalezplc.com;jzavala@gonzalezplc.com;zig@gonzalezplc.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 7/15/21, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR
Berj Warojan Makdesian
2584 New York Dr.
Altadena, CA 91001
                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 7/15/21, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Ernest M. Robles - Courtesy Copy
Roybal Federal Building
255 E. Temple St., Suite 1560
Los Angeles, CA 90012
                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 7/15/21                    Maria Luisa Q. Parcon                                              /s/ Maria Luisa Q. Parcon
 Date                        Printed Name                                                      Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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